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                    1   COOLEY LLP
                        BOBBY GHAJAR (198719)
                    2   (bghajar@cooley.com)
                        COLETTE GHAZARIAN (322235)
                    3   (cghazarian@cooley.com)
                        1333 2nd Street, Suite 400
                    4   Santa Monica, California 90401
                        Telephone:    (310) 883-6400
                    5
                        MARK WEINSTEIN (193043)
                        (mweinstein@cooley.com)
                    6
                        KATHLEEN HARTNETT (314267)
                        (khartnett@cooley.com)
                    7
                        JUDD LAUTER (290945)
                        (jlauter@cooley.com)
                    8
                        ELIZABETH L. STAMESHKIN (260865)
                        (lstameshkin@cooley.com)
                    9
                        3175 Hanover Street
                        Palo Alto, CA 94304-1130
                   10
                        Telephone:    (650) 843-5000
                   11   CLEARY GOTTLIEB STEEN & HAMILTON LLP
                        ANGELA L. DUNNING (212047)
                   12   (adunning@cgsh.com)
                        1841 Page Mill Road, Suite 250
                   13   Palo Alto, CA 94304
                        Telephone: (650) 815-4131
                   14
                        [Full Listing on Signature Page]
                   15   Counsel for Defendant Meta Platforms, Inc.
                   16
                                                   UNITED STATES DISTRICT COURT
                   17
                                                NORTHERN DISTRICT OF CALIFORNIA
                   18
                                                        SAN FRANCISCO DIVISION
                   19
                        RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC-TSH
                   20
                           Individual and Representative Plaintiffs,    UNOPPOSED ADMINISTRATIVE MOTION TO
                   21                                                   FILE UNDER SEAL JOINT DISCOVERY
                               v.                                       LETTER BRIEF AND EXHIBITS
                   22
                        META PLATFORMS, INC., a Delaware
                   23   corporation;
                   24                                   Defendant.
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                                                                                            ADMIN. MOTION TO SEAL
                                                                                             3:23-CV-03417-VC-TSH
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                    1          Pursuant to Civil Local Rule 79-5(c) and 79-5(d), Defendant Meta Platforms, Inc. (“Meta”)

                    2   moves this Court for an Order allowing Meta to file under seal confidential, unredacted versions of

                    3   certain documents relating to the Parties’ Joint Letter Brief on Outstanding Issues Concerning

                    4   Depositions (“Joint Letter Brief”). Meta respectfully submits that good cause exists for the filing

                    5   of these documents under seal. The motion is based on the following Memorandum of Points and

                    6   Authorities and the Declaration of Michelle Woodhouse in support of this Unopposed

                    7   Administrative Motion to File Under Seal.

                    8          The following chart lists the documents for which Meta requests sealing – in whole or in

                    9   part – in order to protect Meta’s confidential business information.

                   10
                         Document                                        Sealing Request
                   11
                         Joint Discovery Letter Brief                            Redacted portions
                   12
                         Exhibit A to Joint Discovery Letter Brief               Entire document
                   13
                         Exhibit B to Joint Discovery Letter Brief               Entire document
                   14
                         Exhibit C to Joint Discovery Letter Brief               Entire document
                   15
                         Exhibit D to Joint Discovery Letter Brief               Entire document
                   16

                   17
                         Exhibit F to Joint Discovery Letter Brief               Entire document

                   18
                         Exhibit V to Joint Discovery Letter Brief               Entire document

                   19    Exhibit Y to Joint Discovery Letter Brief               Entire document

                   20    Exhibit Z to Joint Discovery Letter Brief               Entire document

                   21    Exhibit AA to Joint Discovery Letter Brief              Entire document

                   22    Exhibit BB to Joint Discovery Letter Brief              Entire document

                   23    Exhibit CC to Joint Discovery Letter Brief              Entire document

                   24   A [Proposed] Order is filed concurrently herewith, and Meta refers the Court to the Joint Letter
                   25   itself and the supporting evidence attached thereto as further support for this Unopposed
                   26   Administrative Motion.
                   27   I.     LEGAL ARGUMENT

                   28          Though the presumption of public access to judicial proceedings and records is strong, it
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                    1   “is not absolute.” Nixon v. Warner Commc’ns. Inc., 435 U.S. 589, 598 (19787). The Ninth Circuit

                    2   treats documents “attached to dispositive motions differently from records [i.e., documents]

                    3   attached to non-dispositive motions.” Kamakana v. City & Cty. of Honolulu, 447 F.3d 1172, 1180

                    4   (9th Cir. 2006); Ctr. for Auto Safety v. Chrysler Grp., 809 F.3d 1092, 1098 (9th Cir. 2016). For

                    5   non-dispositive motions, such as the Parties’ Joint Letter Brief, the “good cause” standard applies.

                    6   OpenTV v. Apple, No. 14-cv-01622-HSG, 2015 WL 5714851, at *2 (N.D. Cal. Sept. 17, 2015);

                    7   Kamakana, 447 F.3d at 1180 (“A ‘good cause’ showing will suffice to seal documents produced in

                    8   discovery.”). The Federal Rules afford district courts “flexibility in balancing and protecting the

                    9   interests of private parties.” Kamakana, 447 F.3d at 1180; DSS Tech. Mgmt. v. Apple, No. 14-cv-

                   10   05330-HSG, 2020 WL 210318, at *8 (N.D. Cal. Jan. 14, 2020), aff’d, 845 F. App’x 963

                   11   (Fed. Cir. 2021) (finding good cause to seal “confidential business and proprietary information”).

                   12          The portions of the Joint Letter Brief and Exhibits A–D, F, V, and Y-CC, attached thereto,

                   13   contain Meta’s confidential information, for which Meta requests sealing. Exhibits A–D, F, V, and

                   14   Y-BB are internal Meta documents and communications concerning matters including high-level

                   15   long term product strategy at the senior executive level, plans for potential licensing transactions,

                   16   internal communications and marketing plans including internal goals, and detailed technical

                   17   discussion concerning Meta’s AI development. Exhibit CC is a letter from Plaintiffs’ counsel to

                   18   Meta regarding Meta’s privilege log, which contains significant discussion and descriptions of

                   19   Meta’s highly confidential internal communications. Meta must request sealing of these materials,

                   20   as this information is highly confidential, and Meta takes steps to carefully protect the

                   21   confidentiality of information of this sort as disclosure has the potential to cause significant

                   22   competitive injury to Meta. See, e.g., Krieger v. Atheros Commc’ns, Inc., No. 11-CV-640-LHK,

                   23   2011 WL 2550831, at *1 (N.D. Cal. Jun. 25, 2011) (finding information regarding party’s “long-

                   24   term financial projections, discussions of business strategy, and competitive analyses” sealable);

                   25   Space Data Corp. v. Alphabet Inc., No. 16-CV-03260-BLF, 2019 WL 285799, at *1 (N.D. Cal.

                   26   Jan. 22, 2019) (finding information regarding party’s confidential and proprietary technical

                   27   information, and sensitive financial information sealable). The portions of the Joint Letter Brief

                   28   that Meta seeks to redact quote from or describe the contents of Exhibits Exhibits A–D, F, and Y.
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                    1   These sealing requests are critical to protect Meta’s confidential sensitive technical and competitive

                    2   information.

                    3          The specific basis for sealing these materials is outlined in the accompanying declaration

                    4   of Meta’s Associate General Counsel, Michelle Woodhouse. As outlined in Ms. Woodhouse’s

                    5   declaration, disclosure of the protected information contained in the materials Meta seeks to seal

                    6   would cause competitive harm to Meta if this information is publicly disclosed. Meta’s sealing

                    7   requests and proposed redactions are narrowly tailored to include only that information which

                    8   would cause specific, articulable harm, as identified in Ms. Woodhouse’s declaration. In each

                    9   instance, the harm to Meta outweighs the public’s interest in disclosure. See, e.g., In re iPhone

                   10   App. Litig., No. 11-md-02250-LHK, 2013 WL 12335013, at *2 (N.D. Cal. Nov. 25, 2013) (granting

                   11   motion to seal where the defendant’s interest in “maintaining the confidentiality of information

                   12   about its technology and internal business operations” outweighed that of the public in accessing

                   13   such documents).

                   14   II.    CONCLUSION
                   15          Pursuant to Civil Local Rule 79-5, as appropriate, redacted and unredacted versions of the

                   16   above-listed documents accompany this Unopposed Administrative Motion. For the foregoing

                   17   reasons, Meta respectfully requests that the Court grant their Joint Administrative Motion to Seal.

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                    1   Dated: October 31, 2024                              COOLEY LLP

                    2

                    3                                                     By: /s/Phillip E. Morton
                                                                              Bobby Ghajar
                    4                                                         Philip Morton
                                                                              Mark Weinstein
                    5                                                         Kathleen Hartnett
                                                                              Matthew Brigham
                    6                                                         Judd Lauter
                                                                              Liz Stameshkin
                    7                                                         Colette Ghazarian
                                                                              Juan Pablo Gonzalez
                    8                                                         Cole Poppell
                    9                                                         LEX LUMINA PLLC
                                                                              Mark A. Lemley
                   10
                                                                              CLEARY GOTTLIEB STEEN &
                   11                                                         HAMILTON LLP
                                                                              Angela L. Dunning
                   12
                                                                             Attorneys for Defendant
                   13                                                        META PLATFORMS, INC.
                   14

                   15
                        Full Counsel List
                   16
                        COOLEY LLP
                   17   PHILLIP MORTON (pro hac vice)
                        (pmorton@cooley.com)
                   18   COLE A. POPPELL (pro hac vice)
                        (cpoppell@cooley.com)
                   19   1299 Pennsylvania Avenue, NW, Suite 700
                        Washington, DC 20004-2400
                   20   Telephone:   (202) 842-7800
                   21   COOLEY LLP
                        MATTHEW BRIGHAM (191428)
                   22   (mbrigham@cooley.com)
                        JUAN PABLO GONZALEZ (334470)
                   23   (jgonzalez@cooley.com)
                        3175 Hanover Street
                   24   Palo Alto, CA 94304-1130
                        Telephone:    (650) 843-5000
                   25
                        LEX LUMINA PLLC
                   26   MARK A. LEMLEY (155830)
                        (mlemley@lex-lumina.com)
                   27   745 Fifth Avenue, Suite 500
                        New York, NY 10151
                   28   Telephone:    (646) 898-2055
COOLEY LLP
ATTORNEYS AT LAW
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                    1   CERTIFICATE OF CONFERENCE
                    2          I hereby attest that I spoke with counsel for Plaintiffs, who confirmed they do not oppose

                    3   the relief sought in this motion. I declare under penalty of perjury that the foregoing is true and

                    4   correct.

                    5
                         Dated: October 31, 2024
                    6                                                       COOLEY LLP
                    7                                                       /s/Phillip E. Morton
                                                                            Phillip E. Morton
                    8                                                       Attorneys for Defendant
                                                                            Meta Platforms, Inc.
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